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 9   Entertainment LLC
10
11                       UNITED STATES DISTRICT COURT

12                    NORTHERN DISTRICT OF CALIFORNIA

13                           SAN FRANCISCO DIVISION
14
15   FEDERAL TRADE COMMISSION,                  Case No. 3:23-cv-02880-JSC
16                  Plaintiff,
17         v.                                   NON-PARTY SONY
                                                INTERACTIVE
18   MICROSOFT CORP., et al.,
                                                ENTERTAINMENT LLC’S
19                  Defendants.                 NOTICE OF MOTION AND
                                                MOTION FOR
20                                              CLARIFICATION
21
22                                              The Honorable Jacqueline Scott
23                                              Corley
24                                              No Hearing Date Set
25
26
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28                                        -1-
                    NON-PARTY SONY INTERACTIVE ENTERTAINMENT LLC’S
                    NOTICE OF MOTION AND MOTION FOR CLARIFICATION
                                    3:23-CV-02880-JSC
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 1                        NOTICE OF MOTION AND MOTION
 2   TO ALL PARTIES AND THEIR RESPECTIVE COUNSEL OF RECORD:
 3         PLEASE TAKE NOTICE THAT non-party Sony Interactive Entertainment
 4   LLC (“SIE”) will, and hereby does, move this Court to clarify SIE’s time to file a
 5   statement and/or declaration in support of sealing its confidential information
 6   appearing on the parties’ forthcoming exhibit lists.
 7                                REQUESTED RELIEF
 8         SIE requests that the Court order SIE to file its statement and/or declaration
 9   in support of sealing its confidential information appearing on the parties’
10   forthcoming exhibit lists by June 23, 2023.
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28                     NON-PARTY SONY INTERACTIVE ENTERTAINMENT LLC’S
                       NOTICE OF MOTION AND MOTION FOR CLARIFICATION
                                       3:23-CV-02880-JSC
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 1         Non-party Sony Interactive Entertainment LLC (“SIE”) files this motion
 2   regarding the Court’s June 14, 2023 Order Re: Evidentiary Hearing on Preliminary
 3   Injunction Motion (ECF 76) (the “Order”) to request clarification regarding SIE’s
 4   time to submit a statement and/or declaration in support of sealing its documents on
 5   the parties’ exhibit lists. SIE is a non-party that produced confidential business
 6   material in connection with the FTC’s administrative proceeding against
 7   Defendants. See In re Microsoft/Activision Blizzard, No. 9412 (F.T.C.).
 8         The Order requires the parties to file a joint statement identifying each
 9   party’s intended exhibits by 12pm today, June 20, 2023. The Order also provides
10   that the lists should “identify which exhibits are subject to a confidentiality
11   designation and where on the docket the Court can locate a declaration in support of
12   sealing as required by Local Rule 79-5.” Order at 2. At the time the parties’ joint
13   statement is due, non-party SIE will not yet have seen the parties’ final proposed
14   exhibit lists or have had a chance to thoroughly review those documents for its
15   confidential information, let alone have time to submit a declaration in support of
16   sealing. Accordingly, SIE requests a date from the Court by which its statement
17   and/or declaration under Local Rule 79-5 is due.
18         SIE received preliminary exhibit lists from the FTC and Defendants
19   yesterday, on June 19, 2023 (a federal holiday) and additional documents from the
20   FTC today, June 20, 2023. The parties’ preliminary lists contain 65 documents,
21   including three entire deposition transcripts (covering 4 days of depositions) of SIE
22   employees. These documents are all currently designated as confidential and total
23   over 2,000 pages. SIE requires some reasonable amount of time to properly review
24   and propose redactions to these confidential documents where possible.
25         SIE is cognizant of the accelerated pace of this proceeding and requests three
26   business days, i.e., until June 23, 2023, to review the documents and submit a
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28                      NON-PARTY SONY INTERACTIVE ENTERTAINMENT LLC’S
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 1   statement and/or declaration in support of sealing. This is a few days less than the
 2   seven days provided for by Local Rule 79-5. SIE believes this is workable, given
 3   the Court’s request to receive direct testimony by declaration. To the extent SIE’s
 4   documents will be used on cross-examination at the evidentiary hearing, SIE will be
 5   prepared to inform the parties and the Court of its confidentiality needs at the
 6   evidentiary hearing.
 7
      Dated:       June 20, 2023
 8
                                                  Respectfully submitted,
 9
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10                                                HAMILTON LLP
11                                                /s/ Elsbeth Bennett
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